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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF FLORIDA
                          Tallahassee Division

AUGUST DEKKER, legally known as               )
KORI DEKKER; BRIT ROTHSTEIN;                  )
SUSAN DOE, a minor, by and through            )    Civil Action No.
her parents and next friends, JANE            )    4:22-cv-00325-RH-MAF
DOE and JOHN DOE; and K.F., a                 )
minor, by and through his parent and          )
next friend, JADE LADUE,                      )
                                              )
                                  Plaintiffs, )
v.                                            )
                                              )
SIMONE MARSTILLER, in her                     )
official capacity as Secretary of the         )
Florida Agency for Health Care                )
Administration; and FLORIDA                   )
AGENCY FOR HEALTH CARE                        )
ADMINISTRATION,                               )
                           Defendants.        )
____________________________________)

   Declaration of KathyGrace Duncan In Support of Defendants’ Opposition to
                  Plaintiffs’ Motion for Preliminary Injunction

I, KathyGrace Duncan, declare as follows:

      1.     I am over the age of 18 years and am not a party to this action. I have

actual knowledge of the following facts and if called upon to testify to them could

and would do so competently. I am submitting this Declaration in support of
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Defendants’ opposition to Plaintiffs’ Motion for Preliminary Injunction and

Complaint.

      2.     Florida’s Rule 59G-1.050(7) of the Florida Administrative Code (the

“Challenged Exclusion”) prohibits Medicaid coverage for medical and surgical

interventions meant to “alter primary or secondary sexual characteristics.” This Rule

is an appropriate and necessary regulation that will protect young people and patients

of any age from the regret of false promises, untreated trauma, and irreversible

physical changes and lost previously healthy body parts.

      3.     From a very young age, I was what is called today “gender non-

conforming.” I preferred male clothing, I thought I was a “boy” and I wanted to live

as one.

      4.     I grew up in a dysfunctional family in which my mother was often the

victim of my father’s emotional and verbal abuse. As a result I internalized the

message that “my dad would love me if I were a boy.”

      5.     Sexual abuse by a family member between the ages of 10 and 12 further

convinced me that being a girl meant being unsafe and unlovable.

      6.     In sixth grade, I learned about female to male transsexuals. I believed

that my distress was caused by not having the “right” body and the only way to live

a normal life was to medically transition and become a heterosexual male.
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      7.     At age 19, I began living as a man named Keith and went to a

therapist who formally diagnosed me with gender dysphoria. I began testosterone

and a year later had a double mastectomy. At the time, I believed it was necessary

so that what I saw in the mirror matched what I felt on the inside.

      8.     I never viewed my condition as touching on mental health issues, and

neither did the therapist who diagnosed me. The question of whether my

self-perception and desire to transition was related to her mental health issues was

never explored.

      9.     After 11 years passing as a man and living what I thought was a

relatively “happy” and stable life (which included having a number of girlfriends),

I realized that I was living a lie built upon years of repressed pain and abuse.

Hormones and surgery had not helped me resolve underlying issues of rejection,

abuse, and sexual assault. I came to understand that my desire to live as a man was

a symptom of deeper unmet needs.

      10.    With the help of life coaches and a supportive community, I returned

to my female identity and began addressing the underlying issues that had been

hidden in my attempt to live as a man. I experienced depression that I had

repressed for years and grieved over the irreversible changes to my body.
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      11.   If someone had walked with me through my feelings instead of

affirming my desire to transition, then I would have been able to address my issues

more effectively and not spend so many years making and recovering from a grave

mistake.

      12.   Florida’s Rule is necessary and essential because it will give gender

dysphoric young people (and even older adults) a chance to work through their

feelings, which can be overwhelming and deeply confusing, and address their

underlying issues effectively without being pulled onto the affirmation me d ica l

conveyor belt.

      I declare under penalty of perjury that the foregoing is true and correct.

Dated: October 3, 2022

                                              /s/ KathyGrace Duncan
                                              KathyGrace Duncan
